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  7
                                    UNITED STATES DISTRICT COURT
  8
                                  CENTRAL DISTRICT OF CALIFORNIA
  9
                                              EASTERN DIVISION
 10
 11   INTERIOR ELECTRIC INCORPORATED, |                      Case No. 5:20-mc-0024-JGB-SP
      a Nevada Corporation,           |
 12                                   |                      DECLARATION REGARDING LACK OF
                   Movant,            |                      SERVICE OF MOVANT'S DECLARATION
 13                                   |                      [ECF NO. 11]
            vs.                       |
 14                                   |
      MELINDA BEVERLEY; and SCHIFF & |                       Underlying case:
 15   SHELTON, ATTORNEYS AT LAW,      |                      Interior Electric Incorporated Nevada v.
                                      |
 16                Respondent.        |                      T.W.C. Construction, Inc. et al., No. 2:18-cv-
                                      |                      01118-JAD-VCF (D. Nev.)
 17                                   |
 18   ____________________________________
 19
 20   I, Ralph C. Shelton II, declare as follows:
 21   1.     I am an attorney at law, duly admitted before this Court, and am a member of the firm of Schiff
 22          & Shelton. The facts stated herein are true and correct and of my own personal knowledge such
 23          that if called to testify to the same I could and would competently so testify. This firm represents
 24          Melinda Beverly regarding the underlying subpoena for records.
 25   2.     We recently received the court’s order [Doc. 13] that we file a declaration by February 8, and
 26          complied with that order. In the order, reference was made to the declaration of Chad Clement
 27          filed January 20, 2021 [Doc. 12]. Having not received that declaration, I obtained one from the
 28          court via electronic means.

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            DECLARATION REGARDING LACK OF SERVICE OF MOVANT'S DECLARATION [ECF NO. 11]
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  1   3.     On February 10, 2021, I received an envelope from Marquis Aurbach Coffing, bearing a postage
  2          meter indicating that postage had been affixed thereto on February 5, 2021. A true and correct
  3          copy of that envelope is attached. In the envelope was the declaration of Chad Clement [Doc 11]
  4          and a certificate of mailing, indicating that mailing occurred on January 20, 2021. Apparently,
  5          the reason I had not seen this declaration prior to the court’s minute order [Doc 13] was that it
  6          was mailed February 5, 2021, not January 20, 2021.
  7   3.     I felt that this should be brought to the court’s attention.
  8          I declare under penalty of perjury that the foregoing is true and correct. Executed February 12,
  9   2020, at Newport Beach, California.
 10
 11                                                  /s/ Ralph C. Shelton II
                                                     Ralph C. Shelton II
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            DECLARATION REGARDING LACK OF SERVICE OF MOVANT'S DECLARATION [ECF NO. 11]
